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                                                   IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE DISTRICT OF COLUMBIA

                            SAMUEL A. RAMIREZ                                 :
                            612 Harvard Street NW                             :
                            Washington DC 20006                               :
                                                                              :
                                    Plaintiff,                                :      Civil Action No.
                                                                              :
                            v.                                                :
                                                                              :
                            1725 F STREET CAFÉ, LLC                           :
                            d/b/a Met Café                                    :
                            1725 F. St. NW                                    :
                            Washington DC 20006                               :
                                                                              :
                                    Serve:                                    :
                                             Resident Agent                   :
                                             Sara So                          :
                                             2775 Ordway Street NW #411       :
                                             Washington DC 20008              :
                                                                              :
                                    and                                       :
                                                                              :
                            DEN SO                                            :
                            1725 F. Street NW                                 :
                            Washington DC 20006                               :
                                                                              :
                                    Defendants.                               :


                                                                   COMPLAINT

                                    Plaintiff, Samuel A. Ramirez (“Plaintiff”), by and through his attorneys, Mary Craine

                            Lombardo and Stein Sperling Bennett De Jong Driscoll PC, hereby files his Complaint against

                            1725 F Street Cafe d/b/a Met Café (“Met Café”) and Den So (“So”) (collectively “Defendants”),

                            under the Fair Labor Standards Act of 1938, 29 U.S.C. § 201, et seq. (“FLSA”), and the D.C.
STEIN SPERLING BENNETT
 DE JONG DRISCOLL PC        Minimum Wage Revision Act (“DCMWRA”) stating as follows:
    ATTORNEYS AT LAW
   25 WEST MIDDLE LANE
ROCKVILLE, MARYLAND 20850

   TELEPHONE 301-340-2020




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                                                                    INTRODUCTION

                                    Plaintiff worked for Defendants as a dishwasher for fourteen years. Instead of paying him

                            minimum wage and overtime at a rate of one and a half times his regular rate as required by DC

                            and federal law, Defendants failed to pay minimum wage and overtime, and paid Plaintiff

                            unlawful weekly rates. Plaintiff worked 52 hours per week, working from 6:00 am to 4:30 pm

                            Monday through Friday. He was paid $260.00 per week in cash for the first three years and then

                            $328.00 per week by check thereafter. The rate of pay that Defendants paid to Plaintiff does not

                            even cover minimum wage, and Plaintiff was not paid overtime. Defendants have willfully

                            violated the clear and well-established minimum wage and overtime provisions of the FLSA and

                            the DCMWRA. Plaintiff seeks compensatory and statutory damages for all unpaid overtime

                            compensation, as well as attorneys’ fees and costs.

                                                               JURISDICTION & VENUE

                                    1.     This Court has subject matter jurisdiction over the causes of action alleged in this

                             Complaint pursuant to 28 U.S.C. §§ 1331 and 1367, and 29 U.S.C. § 216.

                                    2.     Venue is proper pursuant to 28 U.S.C. § 1391.

                                                                         PARTIES

                                    3.     Plaintiff is an adult resident of the District of Columbia.

                                    4.     Defendant Met Café is a Washington DC limited liability company with its

                            principal place of business in Washington, DC.

                                    5.     Defendant So is the principal of Met Café.

                                    6.     At all times material herein, Defendants, in the aggregate and as a single
STEIN SPERLING BENNETT
 DE JONG DRISCOLL PC        enterprise, had annual gross volume of sales made or business done in an amount exceeding
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                                    7.      Defendants have at least two or more employees who are engaged in interstate

                            commerce and/or handle, sell, or otherwise work on goods or materials that have been moved or

                            produced for commerce. Defendants also process credit card transactions for customer payments

                            and purchases equipment and inventory that move in interstate commerce.

                                    8.      Each Defendant is an “employer” within the meaning of the FLSA and the

                            DCMWRA.

                                    9.      So controlled the day to day operations of Met Café.

                                    10.     So had the power to hire, fire, suspend, and discipline Plaintiff.

                                    11.     So supervised Plaintiff directly or indirectly.

                                    12.     So directly or indirectly set and controlled Plaintiff’s work schedules or had the

                            power to do so.

                                    13.     So directly or indirectly set and determined the rate and method of Plaintiff’s pay

                            or had the power to do so.

                                                                           FACTS

                                    14.     Plaintiff was employed by Defendants as a dishwasher for fourteen years (the

                            “Employment Period”).

                                    15.     Throughout the Employment Period, Plaintiff worked 52 hours per week, working

                            6:00 am to 4:30 pm Monday through Friday.

                                    16.     For the first three years of the Employment Period, Plaintiff was paid $260.00 per

                            week in cash.

                                    17.     Thereafter, Plaintiff was paid $328.00 per week by check.
STEIN SPERLING BENNETT
 DE JONG DRISCOLL PC                18.     Plaintiff is owed $62,737.84 in unpaid minimum wage and overtime wages.
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                                    19.     Plaintiff was not paid one and a half times his regular hourly rate for hours

                            worked in excess of forty per week.

                                    20.     Plaintiff was paid less than minimum wage.

                                    21.     Plaintiff is owed overtime wages that Defendants willfully failed and refused to

                            pay to Plaintiff in violation of District of Columbia and federal law.

                                    22.     By statute, Defendants are required to maintain records which document the

                            number of days Plaintiff worked.

                                    23.     The precise number of hours worked, and wages owed, should be revealed

                            through discovery.

                                    24.     Defendants knowingly and intentionally violated Plaintiff’s rights under District

                            of Columbia and federal law.

                                                                         COUNT I
                                                               (Violation of the DCMWRA)

                                    25.     Plaintiff adopts herein by reference paragraphs 1 through 24 above as if fully set

                            forth herein.

                                    26.     Throughout the Employment Period, Defendants failed to properly pay Plaintiff

                            minimum wage and overtime required by the DCMWRA.

                                    27.     Unpaid wages are due and owing to Plaintiff by Defendants.

                                    28.     Defendants’ failure and refusal to comply with its obligations under the

                            DCMWRA was willful and not in good faith.

                                    WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter judgment

                            against Defendants, jointly and severally, and in favor of Plaintiff in an amount to be determined
STEIN SPERLING BENNETT
 DE JONG DRISCOLL PC

    ATTORNEYS AT LAW        at trial, but not less than $125,475.68, reasonable attorneys’ fees and costs, and such other and
   25 WEST MIDDLE LANE
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                                                                        COUNT II
                                                                         (FLSA)

                                    29.     Plaintiff adopts herein by reference paragraphs 1 through 24 above as if fully set

                            forth herein.

                                    30.     Throughout the Employment Period, Defendants failed to compensate Plaintiff at

                            the minimum hourly wage and the rate of one and a half times the minimum hourly wage for all

                            hours worked in excess of forty hours per week.

                                    31.     Defendants’ actions complained of herein constitute a willful violation of Sections

                            206 and 207 of the FLSA.

                                    32.     Defendants’ violation makes it liable to Plaintiff for all unpaid wages and unpaid

                            overtime compensation, and in addition equal amount as liquidated damages.

                                    WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter judgment

                            against Defendants, jointly and severally, and in favor of Plaintiff in amount to be determined at

                            trial, but not less than $125,475.68, which is two times the total wages and overtime

                            compensation owed, reasonable attorneys’ fees and costs, and such other and further relief as the

                            Court deems just and proper.

                                                                          Respectfully submitted,

                                                                          STEIN SPERLING BENNETT
                                                                          DE JONG DRISCOLL PC


                                                                  By:            /s/ Mary Craine Lombardo
                                                                          Mary Craine Lombardo (DC Bar 495881)
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                                                                          Attorneys for Plaintiff

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